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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA
V.

RICHARD COOK,
JONATHAN DAVID GRACE,
WILLIAM PATRICK SARSFIELD III,
JESSICA REYHER,

and
ARTHUR REYHER,

Defendants.

CRIMINAL NO.

MAGISTRATE NOS. 23-MJ-52, 23-MJ-
59, 23-MJ-35, 23-MJ-54

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(E)

(Impeding Passage Through the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, RICHARD COOK,

JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD III, JESSICA

REYHER, and ARTHUR REYHER committed and attempted to commit an act to obstruct,
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impede, and interfere with a law enforcement officer lawfully engaged in the lawful performance
of his/her official duties incident to and during the commission of a civil disorder which in any
way and degree obstructed, delayed, and adversely affected commerce and the movement of any
article and commodity in commerce and the conduct and performance of any federally protected

function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JONATHAN DAVID
GRACE, did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer
and employee of the United States, and of any branch of the United States Government
(including any member of the uniformed services), and any person assisting such an officer and
employee, while such person was engaged in and on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the

intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, RICHARD COOK,
JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD Il, JESSICA
REYHER, and ARTHUR REYHER did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

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COUNT FOUR
On or about January 6, 2021, within the District of Columbia, RICHARD COOK,

JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD III, JESSICA
REYHER, and ARTHUR REYHER did knowingly, and with intent to impede and disrupt the
orderly conduct of Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building and grounds, that is, any
posted, cordoned-off, and otherwise restricted area within the United States Capitol and its
rounds, where the Vice President was and would be temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of Government business and official

functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))
COUNT FIVE

On or about January 6, 2021, within the District of Columbia, RICHARD COOK,
JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD II, JESSICA
REYHER, and ARTHUR REYHER did knowingly engage in any act of physical violence
against any person and property in a restricted building and grounds, that is, any posted, cordoned-
off, and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in
violation of Title 18, United States Code, Section 1752(a)(4))
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COUNT SIX
On or about January 6, 2021, in the District of Columbia, RICHARD COOK,
JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD III, JESSICA
REYHER, and ARTHUR REYHER, willfully and knowingly obstructed, and impeded passage
through and within, the United States Capitol Grounds and any of the Capitol Buildings.

(Impeding Passage Through the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(E))

COUNT SEVEN
On or about January 6, 2021, in the District of Columbia, RICHARD COOK,
JONATHAN DAVID GRACE, WILLIAM PATRICK SARSFIELD III, JESSICA
REYHER, and ARTHUR REYHER, willfully and knowingly engaged in an act of physical
violence within the United States Capitol Grounds and any of the Capitol Buildings.
(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
